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                           UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

PRINCESS DENNAR, M.D.                            *    CIVIL ACTION

VERSUS                                           *    NO. 2:20-cv-2679

THE ADMINISTRATORS OF THE                        *    JUDGE GREG GERARD GUIDRY
TULANE EDUCATIONAL FUND
                                                 *    MAGISTRATE JUDGE KAREN WELLS
                                                      ROBY


                                             ORDER

      Considering the Ex Parte Motion for Leave to Exceed Page Limits (R. Doc. 44):


      IT IS ORDERED that the Motion is GRANTED and the Opposition to the Motion

to Dismiss and Motion to Strike is hereby filed into the record.


       This 29th
            ____ day of July, 2021 in New Orleans, Louisiana.



                                             ___________________________________
                                             HONORABLE GREG GERARD GUIDRY
                                             UNITED STATE DISTRICT COURT JUDGE
                                             EASTERN DISTRICT OF LOUISIANA
